Case 1:14-cv-09036-VSB Document 23 Filed 04/29/15 Page 1of1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

DIEGO SANAY, individually, and on behalf of

others similarly situated, Civil Action No.: 14-CV-09036 (VSB)
Plaintiff,
-against- STIPULATION OF DISMISSAL WITH
PREJUDICE

DOWNTOWN RESTAURANT CO., LLC,

Defendant.

WHEREAS, Plaintiff Diego Sanay endeavors to voluntarily withdraw his claims and
dismiss this action with prejudice as against Defendant Downtown Restaurant Co., LLC
(“Defendant”), and Defendant consents to such withdrawal;

WHEREAS, no party herein is an incompetent for whom a Committee has been
appointed; and

WHEREAS, there is no person not a party who has an interest in the subject matter of
this action;

IT IS HEREBY STIPULATED AND AGREED, by and between the parties herein, that
the above captioned action be dismissed with prejudice as against Defendant in accordance with
Rule 41(a)(1) of the Federal Rules of Civil Procedure and without costs or attorneys’ fees to

either party.
“TZIFAS, PLLC LITTLER Thon po
By: ;

By: caine
Constantine T. Tzifas/Esq. Barbara Gross, Esq.
286 Madison Avenue, Sdite 1801 900 Third Avenue
New York, New York 10017 New York, New York 10022-3298.
Tel: 212-557-5052 Tel: 212-497-8483
Attorneys for Plaintiff Attorneys for Defendant
SO ORDERED:

Honorable Vernon S. Broderick, U.S.D.J.
